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 7
 8                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
 9
10
11                                                )   Case No. 3:16-cv-00256-SK
     CLEVELAND VICKERS,                           )
12                                                )
                    Plaintiff,                    )   ORDER DENYING PLAINTIFF
                                                  )   CLEVELAND VICKERS’ REQUEST TO
13           vs.                                  )   APPEAR BY TELEPHONE AT CASE
14   J. C. PENNEY CORPORATION, INC. dba           )   MANAGEMENT CONFERENCE
     JCPENNEY HILLTOP MALL, et al.,               )
15                                                )
                                                  )   Date: November 2, 2016
                                                  )   Time: 1:30 p.m.
16                  Defendants.
                                                  )   Courtroom: A, 15th Floor
17                                                )   Magistrate Judge Sallie Kim
                                                  )
18                                                )
                                                  )
19
20          Having reviewed the Request made by Plaintiff to appear telephonically at the Case
21   Management Conference and the Court finds insufficient cause to grant the request. Therefore,
22   the request is hereby DENIED.
23
24   Dated: October 13, 2016
                                                        United States Magistrate Judge
25
26
27
28

                              ORDER DENYING REQUEST TO APPEAR BY PHONE
